     Case 1:18-mj-00289-JFA Document 5 Filed 06/20/18 Page 1 of 3 PageID# 5




                 IN THE UNITED STATES DISTRICT COURT FOR TM
                         EASTERN DISTRICT OF VIRGINIA     ri
                                                                              i   .
                                                                                      ' ''
                                      Alexandria Division                             ,!UN 20 2dlB :' !/!

UNITED STATES OF AMERICA,
                                                     Case No I:18-MJ-289
               V.

                                                     UNDER SEAL
MARKARA MAN,

                         Defendant.


                    GOVERNMENT'S MOTION TO SEAL COMPLAINT
                             PURSUANT TO LOCAL RULE 49(B)


       The United States, by and through undersigned counsel, pursuant to Local Rule 49(B)of

the Local Criminal Rules for the United States District Court for the Eastern District of Virginia,

asks for an Order to Seal the complaint and affidavit in support ofthe complaint, until the

defendant is arrested,


I.     REASONS FOR SEALING(Local Rule 49(B)(1))

       1.      The Federal Bureau of Investigation is investigating a threat to murder members

ofthe immediate family of a U.S. official in the Executive Branch ofthe U.S. government,in

violation of, inter alia^ 18 U.S.C. §§ 115(a)(1)(A) and 1114.

       2.      Premature disclosure ofthe charges against the defendant would jeopardize an

ongoing criminal investigation threatening our ability to locate and arrest the defendant.

Disclosure ofthe complaint and affidavit in support ofthe complaint would provide the

defendant and others with a roadmap ofthe ongoing criminal investigation, including the identity

ofagents and potential witnesses involved.
       Case 1:18-mj-00289-JFA Document 5 Filed 06/20/18 Page 2 of 3 PageID# 6




II.      REFERENCES TO GOVERNING CASE LAW (Local Rule 49(B)(2))

         3.    The Court has the inherent power to seal complaints and affidavits in support of

complaints. See United States v. Wuagneux,683 F.2d 1343,1351 (11th Cir. 1982); State of

Arizona v. Maypenny^ 672 F.2d 761,765 (9th Cir. 1982); Times Mirror Company v. United

States, 873 F.2d 1210(9th Cir. 1989);see also Shea v. Gabriel, 520 F.2d 879(1st Cir. 1975);

United States v. Hubbard,650 F.2d 293(D.C. Cir. 1980);In re Braughton,520 F.2d 765,766

(9th Cir. 1975). "The trial court has supervisory power over its own records and may,in its

discretion, seal documents ifthe public's right of access is outweighed by competing interests."

In re KnightPub. Co., 743 F.2d 231,235(4th Cir. 1984). Sealing the complaint and affidavit in

support ofthe complaint is appropriate where there is a substantial probability that the release of

the sealed documents would compromise the government's on-going investigation severely. See

e.g.. In re Search Warrantfor Secretarial Area Outside Office ofGunn,855 F.2d 569,574(8th

Cir. 1988); Matter ofEye Care Physicians ofAmerica, 100 F.3d 514, 518 (7th Cir. 1996); Matter

ofFlower Aviation ofKansas, Inc., 789 F, Supp. 366(D. Kan. 1992).

III.     PERIOD OF TIME GOVERNMENT SEEKS TO HAVE MATTER REMAIN
         UNDER SEAL(Local Rule 49(B)(3))

         4.    The complaint and affidavit in support ofthe complaint would need to remain

sealed until the defendant is arrested.


         5.    Upon occurrence ofthe event specified in paragraph 4,pursuant to Local Rule

49(B)(3), the sealed materials will be automatically unsealed and handled as such.

         6.    The United States has considered altematives less drastic than sealing and has

foxmd none that would suffice to protect this investigation. The United States will move to

unseal the documents before they are set to become automatically unsealed ifit determines that

circumstances warrant such action].

                                                 2
    Case 1:18-mj-00289-JFA Document 5 Filed 06/20/18 Page 3 of 3 PageID# 7




       WHEREFORE,the United States respectfully requests that the complaint and affidavit in

support ofthe complaint and this Motion to Seal and proposed Order be sealed until the

defendant is arrested.

                                                   Respectfully submitted,


                                                   G.Zachary Terwilliger
                                                   United States Attorney


                                            By:
                                                                    ing ^
                                                   Alexander P. Berrang
                                                   Assistant United States Attorney
